                   Case 2:07-cr-00298-MCE Document 124 Filed 08/14/14 Page 1 of 2
AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                  United States District Court
                                          Eastern District of California

         UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                    v.                                                (For Revocation of Probation or Supervised Release)
                                                                      (For Offenses committed on or after November 1, 1987)
               JESUS LUPIAN
                                                                      Criminal Number: 2:07CR00298-01
                    (Defendant’ s Name)

                                                                      Jeffrey Staniels, Appointed
                                                                      Defendant’ s Attorney

THE DEFENDANT:
[U] admitted guilt to violation of charge 2 as alleged in the violation petition filed on 01/17/2014.
[]  w as found in violation of condition(s) of supervision as to charge(s)     after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the follow ing violation:

Violation Number                   Nature of Violation                                  Date Violation Occurred
Charge 2                           Unlaw ful Possession of a Firearm and                01/16/2014
                                   Ammunition




The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 5/30/2013.

       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[U]     Charges 1 and 3 are dismissed.


        Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

       IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district w ithin
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.

                                                              07/31/2014
                                                              Date of Imposition of Sentence



                                                              Signature of Judicial Officer

                                                              MORRISON C. ENGLAND, JR., United States District Judge
                                                              Name & Title of Judicial Officer

                                                              08/12/2014
                                                              Date
                   Case 2:07-cr-00298-MCE Document 124 Filed 08/14/14 Page 2 of 2
AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:              2:07CR00298-01                                                                Judgment - Page 2 of 2
DEFENDANT:                JESUS LUPIAN


                                                     IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 14 months to be served concurrently to the 46 month term imposed in 2:14CR00042 for a total term
of 46 months.



[]      No TSR: Defendant shall cooperate in the collection of DNA.

[]      The court makes the follow ing recommendations to the Bureau of Prisons:



[U]     The defendant is remanded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at      on     .
        [ ] as notified by the United States Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.

                                                         RETURN
I have executed this judgment as follow s:




        Defendant delivered on                                       to

at                                             , w ith a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL



                                                                             By
                                                                                              Deputy U.S. Marshal
